Case 16-70046-JAD   Doc   Filed 01/06/21 Entered 01/06/21 16:18:43   Desc Main
                          Document      Page 1 of 7
Case 16-70046-JAD   Doc   Filed 01/06/21 Entered 01/06/21 16:18:43   Desc Main
                          Document      Page 2 of 7
Case 16-70046-JAD   Doc   Filed 01/06/21 Entered 01/06/21 16:18:43   Desc Main
                          Document      Page 3 of 7




                                 012314567869 9 6




                                          
                                          
                                           
Case 16-70046-JAD   Doc   Filed 01/06/21 Entered 01/06/21 16:18:43   Desc Main
                          Document      Page 4 of 7
Case 16-70046-JAD   Doc   Filed 01/06/21 Entered 01/06/21 16:18:43   Desc Main
                          Document      Page 5 of 7
Case 16-70046-JAD   Doc   Filed 01/06/21 Entered 01/06/21 16:18:43   Desc Main
                          Document      Page 6 of 7
Case 16-70046-JAD   Doc   Filed 01/06/21 Entered 01/06/21 16:18:43   Desc Main
                          Document      Page 7 of 7
